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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                      )
                                              )
V.                                            )       CASE NO.: 4:19-CR-00219 BRW
                                              )
                                              )
CHRISTOPHER DAVID HIGGINS                     )



                          MOTION FOR TEMPORARY RELEASE
       The Defendant, Christopher David Higgins, by and through his counsel, Erin Cassinelli,

states in support of his Motion for Temporary Release.

       1.       On May 8, 2019, the Grand Jury for the U.S. District Court for the Eastern District

of Arkansas returned an indictment charging Mr. Higgins with conspiracy to possess with intent

to distribute and to distribute methamphetamine in violation of 21 U.S.C. § 841(a)(1), (b)(1)(B)

and 21 U.S.C. § 846; and one count of distribution of methamphetamine in violation of 21 U.S.C.

§ 841(a)(1) and (b)(1)(C). Mr. Higgins entered pleas of not guilty. Trial is set for May 4, 2021.

       2.       On September 16, 2019, Magistrate Judge Joe Volpe released Mr. Higgins on

conditions.

       3.       On September 2, 2021, the Grand Jury for the U.S. District Court for the Eastern

District of Arkansas returned a new indictment on Mr. Higgins charging him with possession of

firearms in violation of 18 U.S.C. § 922(g)(1) and 18 U.S.C. § 3147; and one count of possession

with intent to distribute less than 50 kilograms of a mixture and substance containing a detectable

amount of marijuana, a Schedule 1 controlled substance, in violation of 21 U.S.C. §841(a)(1) and

§841(b)(1)(D). Mr. Higgins subsequently entered pleas of not guilty and his cases have been

consolidated. He has been in custody since the return of the second indictment.


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       4.       The parties are close to reaching a resolution to both cases and a trial is unlikely.

       5.       In 2020, Mr. Higgins had surgery to remove part of his colon due to a bowel

abscess. During the surgery, two hernias were also discovered. Following the surgery, Mr.

Higgins’ stomach muscles did not heal properly, resulting in another hernia. 1 For years he has

been waiting on a complex surgery to repair the hernia, which also requires Botox procedures on

his abdominal wall muscles to attempt to strengthen them approximately three weeks prior to any

surgery. It will be decided at this initial appointment whether more procedures will need to be done

prior to the surgery. Mr. Higgins is currently in custody in Phillips County Jail. Counsel has

communicated with his medical provider to schedule a pre-surgical evaluation for Friday, February

11, 2022 at UAMS Internal Medicine Clinic, subject to this Court’s approval. The address is 4301

W. Markham St. #890, Little Rock, AR 72205.

       6.       Mr. Higgins asks this Court to permit his temporary release so that he can get the

medical attention he desperately requires, beginning with this initial required evaluation. The

appointment is at 3:00 pm on Friday, February 11, 2022, but Mr. Higgins will need to arrive no

later than 2:30 pm at UAMS Inmate Holding. The family proposes picking him up from Phillips

County Jail at 11:30 am and transporting him to the aforementioned locations before returning him

to the Phillips County Jail by 7:00 pm. The Higgins family stands ready to comply with any

additional conditions the Court feels are appropriate.

       7.       This upcoming appointment is one of several that will need to be scheduled in order

to plan and prepare for Mr. Higgins’ surgery. Mr. Higgins will likely need a CT scan, a consultation

with his surgeon, injections in his abdomen in preparation for surgery, the surgery, and post-


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  Counsel can attest that Mr. Higgins’ stomach is alarmingly distended. She can provide the court
a photo upon its request.
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operative care. Each event will, in turn, need to be scheduled and defense counsel will file a motion

requesting his release prior to each appointment. It is necessary to perform the surgery with the

medical team who has evaluated him over time, as the surgical procedure is complex and it is

doubtful it could be adequately performed through BOP outside medical services.

       8.       AUSA Benecia Moore defers to the Court.

       WHEREFORE, the Defendant, Christopher Higgins, asks the Court to grant his motion,

and for any other relief the Court finds appropriate.




                                                              Respectfully Submitted,

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